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                         UNITED STATES DEPARTMENT OF EDUCATION
                                                                               THE UNDER SECRETARY


                                        September 9, 2015



Honorable Rosa L. DeLauro
House of Representatives
Washington, DC 20515

Dear Congresswoman DeLauro:

Thank you for your April 27, 2015, letter to Secretary Duncan regarding the conversion of for-
profit colleges to nonprofit institutions. Your Jetter was forwarded to the Department of
Education's (Department's) Office of the Under Secretary, and I am pleased to respond on behalf
of the Secretary. A copy of this response is also being sent to the cosigners of your letter.

The Department acknowledges and understands your view that the nature of proprietary
ownership of a school is to provide private benefits to its owners, and this framework may be at
odds with the objective of a nonprofit entity to provide quality educational services to benefit the
public without providing undue financial benefits to the individuals in control. The Department
shares your concern that when a proprietary school owner converts a school to nonprofit status,
the arrangement might be structured to retain the for-profit incentives and the management
behaviors for the former owner who continues to hold a significant role at the institution.

Your letter refers to an article in the New York Times dated March 2, 2015, entitled "Some
Owners ofPrivate Colleges Turn a Tidy Profit by Going Nonprofit," and notes certain
arrangements and conditions that may provide significant revenues to the former proprietary
school owner(s).

You also refer to a situation where a former proprietary school owner is a major creditor to the
nonprofit entity, and has sole power to create and disband the college's board of trustees. You
ask whether these payments by the nonprofit entity to a former owner would violate the Anti-
Deficiency Act. These examples would not be violations of that Act as the Federal student aid
funds are provided to the nonprofit entity for the institution to use for its eligible students. The
amount of Federal student aid funds is based upon the students and programs at the institution.
In addition, eligible loan funds are mandatory and not subject to appropriations. With respect to
the Federal student aid funds earned by the nonprofit institution, there is a separate question of
whether it is appropriate for the nonprofit entity to engage in the types of arrangements identified
above, and the Internal Revenue Service (IRS) would detennine whether those activities are
permissible under the nonprofit rules.

Your letter also asks whether the Department has consulted with the IRS when reviewing
applications to approve a conversion of a for-profit institution lo a nonprofit institution regarding
a nwnber of scenarios where the former owner retains some type of relationship with the
institution.



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The issues raised in your letter concerning whether the payments and services provided to the
former owners of a nonprofit are noted by the Department during a review, and are brought to
the attention of the IRS for review under that agency's standards. Where appropriate, the
Department has made referrals to the IRS for a review of information received through the
application process.

As part of our current procedures, we review the application for approval of the conversion
submitted to the Department, and also request supporting documents that may include:

   •     the sales agreement and any other related party agreements;

   •     obtaining from the institution a narrative explanation of the roles of the former owners
         and executives of the for-profit school in the management of the nonprofit after the sale;
         and

   •     identifying any purported donation of assets by the for-profit owners to the nonprofit
         enterprise, and the impact that such donations might have on the control of the nonprofit.

As a part of this process, the Department reviews the sales documents and other agreements to
gain an understanding of the structure and operations of the nonprofit entity, and to identify any
continuing responsibilities, executive positions, and services to the nonprofit entity provided by
the former owners or related parties. The executive officers or key employees of the nonprofit
entity are checked to see if any have been debarred from participating in Title IV programs. The
financial statements of the nonprofit entity are reviewed, and when questions arise, the audit
work papers are also reviewed. In the past, the Department has not encountered issues where the
value of a donated asset was material, but will consider this question in more detail going
forward. The Department continues to assess ways to improve our existing procedures and
enhance our coordination with the IRS regarding our respective reviews of for-profit conversions
to nonprofit

Regarding your request that the Department impose an immediate moratorium on new approvals,
the Department cannot stop institutions from undergoing changes of ownership or conversions
from one type of institution to another and then applying to the Department for new approval.
The number of these types of conversion from for-profit to nonprofit has been minimal in the last
decade. The Department carefully reviews all conversion applications, and during the review,
which may include an extended review period, the institution may continue to participate on a
temporary approval that runs from month to month until a final decision is issued on the
application. If the application is approved, the institution then participates under provisional
certification. When an institution participates on a provisional basis, the institution's Program
Participation Agreement with the Secretary includes provisional conditions that the institution
must abide by in order to maintain its approval to participate in the Title IV, HEA programs.
The provisional period may be from one to three years, during which the Department exercises
an increased level of monitoring and oversight of the institution's Title IV participation.




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You also asked if the consumer information in our College Navigator site accurately portrays an
institution's nonprofit status. College Navigator is populated with data provided by institutions
through an annual survey submission and from other Department resources (e.g., Cohort Default
Rates). Data are validated on an annual basis for data fields such as the not-for-profit status and,
if determined to be in error, are corrected for the next annual release. An institution's nonprofit
status is reviewed annually by the Department through the audited financial statements and
compliance audits that institutions are required to submit annually in addition to any application
submitted to the Department for a change in ownership that may include a conversion from a for-
profit to nonprofit status.

ln reference to the details regarding conversions to non!X'ofit status from current for-profit
institutions, the Department currently has two open cases regarding conversion applications, for
Herzing University and the Center for Excellence in Higher Education; both of these are still
W1dergoing substantive review. The Department is not aware of any recent conversion
application or request for guidance from Career Education Corporation regarding a change to
nonprofit. However, Grand Canyon University has informed me and other Department officials
that it is contemplating, and has shared general information about, potentially converting to a
nonprofit entity. ln response to your question, the University has not submitted an application
for a change in owners!tip.

Finally, you requested information regarding past conversion requests that have been approved.
The conversion request from Everglades University was approved in 2002, Keiser University's
conversion was approved in 2011, and Education America Remington College's conversion was
approved in 2013.

Should you have other questions regarding this matter, please contact Lloyd Horwich, Acting
Assistant Secretary in the Office of Legislation and Congressional Affairs, at 202-401-0020.

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                                          ~~  Ted Mitchell




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